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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Baltimore Division)

 IN RE:                                          §
                                                 §     Case No. 21-11670-NVA
 ROB’S TOWER MOTORS SALES                      & §
 SERVICE OF TANEYTOWN, LLC,                      §
                                                 §     CHAPTER 11
       Debtor                                    §     (Subchapter V)
                                                 §

              OBJECTION TO EMERGENCY MOTION FOR AUTHORITY
                        TO USE OF CASH COLLATERAL

       COMES NOW Auction Credit Enterprises, LLC (“ACE”), by and through its counsel, and

objects to the Motion For Interim Use Of Cash Collateral And Providing For Adequate Protection

Therefor (the “Motion”) [Doc. # 7] filed by debtor Rob’s Tower Motors Sales & Service of

Taneytown, LLC (the “Debtor”) pursuant to 11 U.S.C. § 363 on March 17, 2021. The Court has

set a hearing on the continued use of cash collateral for April 12, 2021 at 4:00 p.m. via video

conference or teleconference. with its entry of the interim cash collateral order entered on March

29, 2021 [Doc. # 29]. In support of this objection, ACE states as follows:

                                          I.
                                   BACKGROUND FACTS

       1.       The Debtor is a Maryland limited liability company doing business in Maryland as

an automobile dealer selling motor vehicles to its customers.

       2.       On or about August 31, 2020, ACE and Debtor entered into a Demand Promissory

Note and Security Agreement (the “Note”). A true and correct copy of the Note, including any

applicable amendments, is attached hereto and incorporated by reference for all purposes as Exhibit

“A.”

       3.       At the specific request of Debtor, ACE advanced funds under the Note with regard

to each of the following four (4) vehicles (the “Vehicles”), among other units:
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                                              Unit         Unit
  Dealer #            VIN                     Year        Make                 Unit Model
  6800.13      1C4RJFBG8EC447201              2014      Jeep          Grand Cherokee
  6800.11      1C4NJRFB3GD545077              2016      Jeep          Patriot
  6800.12      1FMHK8F84BGA25577              2011      Ford          Explorer
  6800.14      1C4PJMDB2EW190466              2014      Jeep          Cherokee

ACE paid the seller directly on Debtor’s behalf, at Debtor’s request, in order to finance Debtor’s

purchases of the Vehicles. As of March 22, 2021, the unpaid balance of principal, interest and fees

due and owing by Debtor under the Note was $52,039.00 after accounting for all payments, offsets,

and credits. A true and correct copy of ACE’s Receivable Detail Report, current as of March 22,

2021, is attached hereto as Exhibit “B.” Also attached to ACE’s Exhibit “B” Receivable Detail Report

is an addendum that provides the full vehicle identification number for each of the Vehicles listed,

along with the corresponding payoff for each of the four Vehicles.

       4.      Pursuant to Section 3 of the Note, Debtor granted to ACE a purchase money security

interest in the Vehicles along with a blanket security interest in all other inventory, equipment,

accounts, chattel paper, and any products or proceeds thereof. ACE perfected its security interest by

filing the appropriate UCC-1 Financing Statements with the Maryland Department of Assessments

and Taxation office on August 31, 2020, filing # 200831-1540002. A true and correct copy of said

UCC-1 Financing Statement perfecting ACE’s blanket security interest in Debtor’s assets, including

but not limited to the Vehicles, motor vehicle inventory, proceeds thereto, and accounts receivable, is

attached hereto and incorporated by reference for all purposes as Exhibit “C.”

       5.      In compliance with the Uniform Commercial Code requirements, ACE timely and

properly served Debtor’s secured creditors who previously filed UCC-1 financing statements with

the appropriate written purchase-money security interest notices, which notified such secured

parties that ACE was claiming a first priority purchase money security interest in any vehicles

floored by Debtor through ACE under the Note, including but not limited to the Vehicles. True
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and correct copies of these “PMSI” notices sent to Vehicle Acceptance Corporation, Westlake

Flooring Company, LLC, and the U.S. Small Business Administration are collectively attached

hereto as Exhibit “D.” Counsel for ACE has obtained the agreement from these secured creditors

that ACE has a first priority security interest in the Vehicles, while ACE has likewise agreed that

Vehicle Acceptance Corporation and Westlake Flooring Company, LLC, have a first priority

security interest in any vehicles specifically floored by those floor plan lenders under their

respective loan documents.

       6.      In addition, the flooring documents submitted by Debtor to ACE that correspond to

Debtor’s request for financing under the Note are collectively attached hereto as Exhibit “E” and

consist of the Vehicles’ certificates of title as well as the auction receipt reflecting Debtor’s

purchase of such Vehicles at auction. ACE relied upon these flooring documents when providing

financing to Debtor under the Note.

       7.      The Vehicles, in addition to being subject to ACE’s security interest and right to

possession, are also particularly subject to waste, damage, and accelerated depreciation if not properly

maintained and stored by Debtor. As set forth at the bottom of page two of Debtor’s proposed interim

budget filed on March 26, 2021 [Docket # 22] (the “Proposed Budget”), Debtor has sold the 2016

Jeep Patriot and 2011 Ford Explorer identified in the Exhibit “B” Receivable Detail Report but has

not yet remitted full sales proceeds to ACE from the sale of the two Vehicles. Debtor’s proposed

budget indicates an approximate balance of $24,000.00 from the sales proceeds is owed to ACE, but

admits that Debtor may need assistance from KandC Services, LLC, to pay off the full balances on

each of the two sold Vehicles. Counsel for Debtor and ACE have had discussions on the timing of

remitting sales proceeds of any sold Vehicles, but issues have arisen regarding the timing and

repayment amount to ACE from the sales proceeds of the two sold Vehicles, as only a portion of the

sales proceeds have been forwarded to ACE.
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       8.      Meanwhile, Debtor seeks an order permitting Debtor to utilize cash collateral pursuant

to the Proposed Budget, whose terms are objectionable as set forth below. Although ACE files this

objection to Debtor’s continued use of cash collateral, the parties continue to negotiate disputed

issues regarding the liquidation of the Vehicles and payment of any sales proceeds to ACE. Should

the parties reach an agreement prior to the upcoming hearing scheduled for April 12, 2021, the

parties will notify the Court accordingly of any agreement prior to the hearing, if possible, or by

making an announcement at the hearing on the record.

                                    II.
              OBJECTION TO DEBTOR’S CASH COLLATERAL MOTION

       9.      On March 17, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

small business bankruptcy case under Chapter 11 of the United States Bankruptcy Code. As a

result of this filing, ACE is presently stayed from taking any action to obtain possession of its

Vehicles or sales proceeds thereto pursuant to its blanket security interest or demand payment from

the Debtor.

       10.     Pursuant to 11 U.S.C. §§ 1107 and 1108, the Debtor remains in control of the

operation of its business as no trustee has been appointed in this case.

       11.     As set forth in its Motion, Debtor seeks to use Debtor’s cash collateral for its

operations in the ordinary course of business. However, section 363(c)(2) of the bankruptcy code

(the “Code”) provides that the debtor in possession may not use cash collateral unless the secured

party consents or the court, after notice and hearing, authorizes such use. Additionally, section

363(e) further provides:

               Notwithstanding any other provision of this section, at any time, on
               the request of an entity that has an interest in the property used, sold,
               or leased, or proposed to be used, sold or leased, by the trustee, the
               court, with or without a hearing, shall prohibit or condition such use,
               sale or lease as is necessary to provide adequate protection of such

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                    interest.1

The burden of proof on the issue of adequate protection falls upon the trustee.2 ACE does not

consent to Debtor’s use of cash collateral on either an interim or final basis and objects to

Debtor’s Motion for the several reasons as stated below.

      A. ACE Objects To Debtor’s Motion On The Basis That the Proposed Order is Inadequate
         and Vague with respect to the Vehicles Moving Forward

           12.      Debtor’s proposed order for the interim use of cash collateral pursuant to the

Proposed Budget is deficient with respect to the treatment of the ACE’s Vehicles and how Debtor

intends to utilize, escrow, or remit to ACE the sales proceeds of ACE-financed motor vehicle

inventory. In addition, the Proposed Order does not expressly account for how Debtor intends to

utilize the Vehicles’ sales proceeds, when and how such sales proceeds shall be delivered to ACE,

or how the certificates of titles for the Vehicles should be stored, handled, or transferred pending

the sale of a Vehicle.

           13.      ACE continues to monitor its motor vehicle inventory and intends on working with

Debtor to ensure the Vehicles are sold pursuant to the terms of the Note. Since the filing of

Debtor’s bankruptcy, there is currently no contemplation in the proposed cash collateral order

submitted by Debtor that would permit ACE personnel to conduct lot audits or require Debtor to

submit reports to ACE concerning the status of Debtor’s motor vehicle inventory. Counsel for

ACE continues to work with counsel for Debtor to include such language that limits and governs

Debtor’s operations as necessary to adequately protect ACE’s interests in its Vehicles as part of

any approved cash collateral order. However, as currently drafted, the Debtor’s proposed order

submitted in conjunction with its Motion to use cash collateral presents inherent and significant




1
    11 U.S.C. § 363(e).
2
    11 U.S.C. § 363(p)(1).
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risks to ACE including, but not limited to, possible sales of Vehicles out of trust, rapid depreciation

of the Vehicles, and no firm accounting structure of how sales proceeds from the Vehicles or other

motor vehicle inventory of Debtor are to be treated.

   B. ACE Objects To Debtor’s Motion On The Basis That The Proposed Budget Is Inadequate

       14.     Debtor’s bare-bones Proposed Budget was only proposed for the time period of

March 30, 2021, through April 13, 2021. Debtor has not submitted a revised proposed budget for

the period subsequent to April 13, 2021. Assuming Debtor intends to seek use of cash collateral

consistent with the Proposed Budget for the interim period subsequent to April 13, 2021, Debtor

fails to provide ACE or the Court with sufficient detail to explain why Debtor requires emergency

use of the cash collateral funds. Although Debtor is engaged in sales of motor vehicle inventory

of various floor plan lenders, the proposed Budget fails to distinguish the costs, expenses, or

revenue from the different floor plan lenders.

       15.     Further, the Proposed Budget does not have any projections for revenue or

inventory purchases, and offers no explanation how motor vehicle inventory will be purchased

moving forward.

       16.     The Proposed Budget contains a line item stating “Proceeds from used vehicle

sales” of $4,250.00, but does not distinguish between what amount will be paid to each of Debtor’s

three floor plan lenders identified in Debtor’s Motion. It is presumed that all three floor plan

lenders identified by Debtor will be paid out of this category, but it is unknown what amount, if

any, ACE will receive. The Proposed Budget also does not include any provision to pay any

principal of the Note nor adequate protection payments to ACE for its Vehicles.

       17.     For all of the foregoing reasons, Debtor simply does not provide sufficient detail to

ACE or the Court to make adequate decisions concerning adequate protection and use of cash

collateral for actual expenses necessary to maintain Debtor’s business.
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    C. ACE Objects To Debtor’s Motion On The Basis That Debtor Has Insufficient Or No Equity
       To Provide Replacement Liens In Favor Of ACE

          18.   Prior to the Petition Date, Debtor’s debt owed to ACE under the Note was

$52,039.00. However, Debtor’s Schedules A/B filed on April 7, 2021 [Docket # 48] reveal Debtor

has only $24,031.90 in assets. Thus, ACE does not believe Debtor has sufficient equity in which

to provide ACE with replacement liens as proposed in the Motion. Debtor has the burden to

establish such equity in a § 363 proceeding but has neither pled there is sufficient equity nor has

provided any evidence it has equity relative to the debt owed to ACE in its Motion to use cash

collateral. If the Debtor in fact has no equity, then Debtor’s proposal to provide replacement liens

to ACE is insufficient to adequately protect ACE’s security interest in its collateral.

                                             III.
                                     RELIEF REQUESTED

          19.   A portion of ACE’s collateral may presently or in the very near future consist of

cash, negotiable instruments, documents of title, securities, deposit accounts or other cash

equivalents and the proceeds, products, offspring, rents or profits as contemplated by 11 U.S.C. §

363(a).

          20.   Pursuant to 11 U.S.C. § 363(c)(2), the Debtor may not use, sell, or lease cash

collateral unless ACE consents or the Court, after notice and a hearing, authorizes such use, sale

or lease.

          21.   For all of the foregoing reasons set forth in this objection, the Debtor’s proposal to

utilize cash collateral consisting of the anticipated income from its sell of motor vehicle inventory

is wholly inadequate in light of ACE’s first-priority, perfected security interest in the Vehicles,

and cash collateral proceeds thereto.

          22.   For these reasons, ACE does not consent to the Debtor’s use of ACE’s cash

collateral.
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        WHEREFORE, ABOVE PREMISES CONSIDERED, ACE respectfully requests that

the Court:

        a.          Deny the relief requested in the Motion;

        b.          Order the Debtor immediately to provide a detailed accounting of all items of

the Vehicles, including the status of each vehicle (in stock, sold, or rented); the sales terms, if any;

and the sale date, if any;

        c.          Order the Debtor not to sell or otherwise dispose of any Vehicles that are not

already the subject of a prepetition sale;

        d.          Order the Debtor immediately to allow ACE access to the Vehicles that are still

in the Debtor’s possession, including all of the Debtor’s books and records relating to the Vehicles;

        e.          For such other and further relief to which ACE is entitled as this Court may

deem just and proper.




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                                              Respectfully Submitted,

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                                              /s/ Alan B. Padfield__________
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                                              Attorney for ACE




                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 9, 2021, a copy of the foregoing was sent via ECF and/or first
class mail to counsel for the debtor, Edward M. Miller, the Chapter 11 Trustee, Jolene E. Wee, and
all those receiving ECF notification in this case.


                                      /s/ Alan B. Padfield_________________
                                      Alan B. Padfield




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